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05/08/2020 08:16 AM CDT




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                               Nebraska Supreme Court Advance Sheets
                                        305 Nebraska Reports
                                              REVEIZ v. EL-KASABY
                                                Cite as 305 Neb. 440



                                        Elena Reveiz, appellant, v.
                                        Bassel El-Kasaby, appellee.
                                                   ___ N.W.2d ___

                                         Filed April 3, 2020.     No. S-19-278.

                 Appeal from the District Court for Douglas County: J
               Russell Derr, Judge. Affirmed.
                 Denise E. Frost, of Johnson &amp; Mock, P.C., L.L.O., for
               appellant.
                 Cathy S. Trent-Vilim, and, on brief, Stacy L. Morris and
               Kate Geyer Johnson, of Lamson, Dugan &amp; Murray, L.L.P., for
               appellee.
                 Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
               and Freudenberg, JJ.
                 Per Curiam.
                 The February 19, 2019, order of the Douglas County District
               Court is affirmed by an equally divided court.
                                                               Affirmed.
                 Papik, J., not participating.
